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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

SYMBOLOGY INNOVATIONS, LLC                     §
                                               §
       Plaintiff,                              §       CIVIL ACTION NO.
                                               §      2:17-cv-02078-CCC-JBC
                                               §
       v.                                      §   JURY TRIAL DEMANDED
                                               §
FEDERAL EXPRESS CORPORATION                    §
                                               §
                                               §
       Defendant.                              §

                       NOTICE OF DISMISSAL WITH PREJUDICE

       Under Federal Rule of Civil Procedure 41 (a), Plaintiff Symbology Innovations LLC

(“SI”), moves to dismiss all claims against Defendant Federal Express Corporation WITH

PREJUDICE, with each party to bear its own attorneys' fees and costs.




 Dated: May 25, 2017                         By: /s/Jean-Marc Zimmerman
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                                            ATTORNEYS FOR PLAINTIFF
                                            SYMBOLOGY INNOVATIONS LLC




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing

documents has been served on May 25th, 2017, to all counsel of records who deemed to have

consented to electronic service via the Court’s CM/EFF system per Local Rule LR 5.5(b).


                                                          /s/Jean-Marc Zimmerman
                                                          Jean-Marc Zimmerman
